Case 1:04-cv-01196-.]DT-STA Document 5 Filed 08/11/05 Page 1 of 2 PagelD 15

 

 

United States District Court 639 is
WESTERN DISTRICT oF TENNESSEE §§ g "z, a
Eastern Division gai/ri § §§
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%Eé'l'/'\ ./ 'C';
JUDGMENT IN A CIVIL CASE @.§)6 § -
UNITED STATES OF AMERICA,
V.

MARCUS TYRONE WILLIAMS, CASE NU|V|BER: 1204-1 196-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered

lT iS ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 8/8/2005, The lVlotion Pursuant to 28 U.S.C. § 2255 is

DEN|ED and this case is hereby DlSlVllSSED. lt is also CERT|F|ED that any Appeal
by plaintiff is not taken in good faith.

APPROVED:

D- M
JA S D. TODD
UN so sTATEs DISTRICT JUDGE

THOMAS M. GOULD
CLERK

35 _//"Db/ BY; ama

DATE DEPUTY CLERK

This document entered on the docket sheet in compliance
with Ru|e 58 and/or 79(a) FRCP on 625/4 'W-é .

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:04-CV-01196 Was distributed by faX, mail, or direct printing on
August 11, 2005 to the parties listed.

 

Marcus Tyrone Williams
18715-076

P.O. Box 34550
1\/lemphis7 TN 38138--055

Honorable J ames Todd
US DISTRICT COURT

